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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                     www.flmb.uscourts.gov

In re:                                                    Chapter 11
CFRA HOLDINGS, LLC                                        Case No. 8:20-bk-03608-CPM

                                                          Jointly Administered with:

CFRA, LLC                                                 Case No. 8:20-bk-03609-CPM
CFRA TRI-CITIES, LLC                                      Case No. 8:20-bk-03610-CPM

                                 Debtors.
                                                    /

  NOTICE OF ASSUMPTION, ASSIGNMENT AND CURE AMOUNT WITH RESPECT
   TO EXECUTORY CONTRACTS AND UNEXPIRED LEASES OF THE DEBTORS

       The above-captioned debtors and debtors in possession (collectively, the “Debtors”), are
seeking to sell substantially all of their assets (the “Assets”). The Debtors will consider proposals
to acquire some or all of the Assets through a sale under section 363 of the Bankruptcy Code.
The Debtors have reserved the right to seek Court approval, with notice and an
opportunity for hearing, of one or more parties to serve as a stalking horse purchaser (each
a “Stalking Horse Purchaser”) to acquire some or all of the Assets pursuant to a
Transaction Agreement between the applicable Debtor(s) and the Stalking Horse
Purchaser.

        The Debtors have requested that the Bankruptcy Court enter an order or orders (the “Sale
Orders”), which provide, among other things, for the sale of the Assets free and clear of all
liens, claims, encumbrances and other interests, to the extent permissible by law, and the
assumption by the applicable purchaser of certain liabilities. In connection with this marketing
and sale process, the Debtors are seeking to assume or assume and assign certain of their
executory contracts and unexpired leases related to the Assets (collectively, the “Assumed
Contracts”).

        By order entered on June 10, 2020 [Docket No. 134] (the “Bidding Procedures Order”),
the Bankruptcy Court approved certain “Bidding Procedures” that govern the sale of all of the
Assets to the highest and best bidders. Capitalized terms used but not otherwise defined herein
shall have the meanings ascribed to them in the Bidding Procedures Order.

        You are receiving this Notice because you may be a party to an Assumed Contract.
A list of the Assumed Contracts is attached hereto as Exhibit A. The Debtors have
determined the current amounts owing (the “Cure Amounts”) under each Assumed Contract and
have listed the applicable Cure Amounts on Exhibit A. The Cure Amounts are the only amounts
proposed to be paid upon any assumption or assumption and assignment of the Assumed
Contracts, in full satisfaction of all amounts outstanding under the Assumed Contracts.


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       To the extent that a non-Debtor party to an Assumed Contract objects to (i) the
assumption and assignment of such party’s Assumed Contract or (ii) the applicable Cure
Amounts, the non-Debtor counterparty must file and serve an objection in accordance with
the Bidding Procedures Order, so as to be received by the undersigned counsel for the
Debtors and the other parties specified therein by June 23, 2020 at 4:00 p.m. (ET).

        A virtual auction, as determined by Gordon Brothers and the Debtors, in consultation
with the Consultation Parties, (the “Auction”) for the Assets, including the Assumed Contracts,
will be conducted on June 24, 2020 at 10:00 a.m. (ET). After the Auction occurs (or after the
cancellation of the Auction, if applicable), the Debtors will file and serve a notice that identifies
the proposed acquirers of the Assets, and the proposed assignees of any Assumed Contracts.

        The Bidding Procedures Order requires that each Qualifying Bidder provide Adequate
Assurance Information along with a Bid. Any counterparty to a lease or executory contract that
would like to receive such Adequate Assurance Information must submit a written request to
Debtors’ counsel to receive the Adequate Assurance Information by email (a) that specifically
identifies the Assets for which you would like to receive Adequate Assurance Information in
accordance with the terms of the Bidding Procedure Order, and (b) that you agree to be bound by
the confidentiality provisions set forth in the Bidding Procedures Order. The deadline to object
to adequate assurance of future performance with respect to such proposed assignees, shall
be at the Sale Hearing (as defined below).

        If no objection is timely received with respect to Cure Amounts or the assumption of
an Assumed Contract, (i) a non-Debtor party to a Contract shall be forever barred from
objecting to the Cure Amounts and from asserting any additional cure or other amounts
with respect to such Contract, (ii) the Cure Amounts set forth on Exhibit A attached hereto
shall be controlling, notwithstanding anything to the contrary in any Assumed Contract, or
any other document, and the non-Debtor party to an Assumed Contract shall be deemed to
have consented to the Cure Amounts, (iii) the non-Debtor party to a Contract shall be
forever barred and estopped from asserting any other claims related to such Contract
against the Debtors or the applicable transferee, or the property of any of them; and
(iv) the Counterparty shall be deemed to consent to, and the Debtors shall be permitted to
proceed with, the assumption and assignment of the applicable Assigned Contract.

        The Debtors will seek to assume and assign the Assumed Contracts that have been
selected by a Successful Bidder or the Stalking Horse Purchaser, if applicable, at a hearing
before the Honorable Catherine Peek McEwen, in the United States Bankruptcy Court for the
Middle District of Florida, 801 North Florida Avenue, Courtroom 8B (8th Floor), Tampa,
Florida 33602 (a “Sale Hearing”) on June 26, 2020 at 9:30 a.m. (ET), or such other date as
determined by the Debtors in accordance with the terms of the Bidding Procedures Order. A
hearing regarding the Cure Amounts, if any, may be adjourned by agreement of the Debtors and
applicable objection party or by order of the Court.




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                                                      -and-

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                              EXHIBIT A – ASSUMED CONTRACTS

Contract Counterparty                Contract/Lease            Debtor Party       Cure
                                                                                  Amount
Assembly Restaurant, LLC             Lease – Store #419        CFRA, LLC          $44,000
C&J Associates                       Lease – Store #494        CFRA, LLC          $17,109
Trilogy, Inc.                        Lease – Store #530        CFRA, LLC          $54,574
6851 Lennox, LLC                     Lease – Store #597        CFRA, LLC          $60,362
Alcimedes, Inc.                      Lease – Store #2027       CFRA, LLC          $46,305
David, Elizabeth & Robert            Lease – Store #3105       CFRA, LLC          $58,200
Nakahara
NorthCross       Land     &          Lease – Store #3139       CFRA, LLC          $35,090
Development, LLC
Casual Dining Smyrna, LLC            Lease – Store #3218       CFRA, LLC          $72,227

Nashville West Shopping Center,      Lease – Store #3326       CFRA, LLC          $43,911
LLC
DDR Cotswold, LLC                    Lease – Store #3327       CFRA, LLC          $63,402
Tuven D. Lecong, as Trustee          Lease – Store #3367       CFRA, LLC          $45,686
under the Lecong Revocable
Trust Declaration
Cooke Properties                     Lease – Store #3383       CFRA, LLC          $23,489
Ballantyne Property Group, LLC       Lease – Store #3423       CFRA, LLC          $40,315

Elliston Place Partners LLC          Lease – Store #3427       CFRA, LLC          $43,172

J.D. Eatherly                        Lease – Store #3450       CFRA, LLC          $27,531
Vastland Companies
Promenade Shopping Center,           Lease – Store #3453       CFRA, LLC          $29,245
LLC
Manheim                Township      Lease – Store #3472       CFRA, LLC          $62,976
Development
Stanhope 2013, LLC                   Lease – Store #3487       CFRA, LLC          $31,777
Highland Creek Retail, LLC           Lease – Store #3488       CFRA, LLC          $39,281

Mitchell Montgomery I, LLC           Lease – Store #3502       CFRA, LLC          $32,400

Ecolab, Inc.                         Dishwasher      Lease   – CFRA, LLC          $1,644
                                     Store #419
Ecolab, Inc.                         Dishwasher      Lease   – CFRA, LLC          $1,644
                                     Store #491

Ecolab, Inc.                         Dishwasher      Lease   – CFRA, LLC          $1,644
                                     Store #492
Ecolab, Inc.                         Dishwasher      Lease   – CFRA, LLC          $1,644
                                     Store #494

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Contract Counterparty                Contract/Lease            Debtor Party       Cure
                                                                                  Amount
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #574
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #587
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #597
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #2027
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #3218
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #4405
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #4408
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #4414
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #4417
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #4423
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #4448
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #4505
Ecolab, Inc.                         Dishwasher Lease –        CFRA, LLC          $1,644
                                     Store #4403
Arc3 Gases South                     CO2 Gas & Fixtures        CFRA, LLC          $9,188
                                     Contract
Aramark Uniform Services             Uniforms Contract         CFRA, LLC          $10,961

Pye Barker Fire and Safety           Fire Safety Services      CFRA, LLC          $5,753
                                     Agreement
ROS Technology Services Inc.         Labor        Management   CFRA, LLC          $67,560
                                     Software
ROS Technology Services Inc.         POS sales tracking        CFRA, LLC          $0
ROS Technology Services Inc.         Website,     email  and   CFRA, LLC          $0
                                     technology

ROS Technology Services Inc.         Software                   CFRA, LLC         $0
ROS Technology Services Inc.         Uniform           services CFRA, LLC         $0
                                     agreement
Dr Pepper/Seven Up, Inc.             Fountain          Support CFRA, LLC          $0
                                     Agreement


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